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#1

COMMONWEALTH OF MASSACHUSETTS

NANTUCKET, ss, SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT

KATHERINE JETTER and i
KATHERINE JETTER LTD. d/b/a THE Filed 05/19/2025
VAULT NANTUCKET,

Plaintiffs,

Vv. 2575CV00021
Civil Action No.

BOUTIQUE TERE, INC. d/b/a MARISSA
COLLECTIONS,

JAY HARTINGTON,

MARISSA HARTINGTON, and

BURT HARTINGTON,

Defendants.

VERIFIED COMPLAINT AND JURY DEMAND

Plaintiffs Katherine Jetter and Katherine Jetter LTD (d/b/a The Vault Nantucket), by their
undersigned attorneys, hereby file this Verified Complaint against Defendants Boutique Tere, Inc.
(d/b/a Marissa Collections), Jay Hartington, Marissa Hartington, and Burt Hartington, and in

support thereof, allege as follows:
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INTRODUCTION!

1. In the exclusive world of luxury jewelry and accessories, Katherine Jetter has
steadfastly built her business, reputation, vendor relationships, and clientele over years of hard
work and success as a couture designer and retailer based on Nantucket, Massachusetts and in
Boston, Massachusetts. In 2008, her debut year, Ms. Jetter received industry praise as a “Designer
of the Year” by the Couture Trade Show’s Jewelry Design Awards, a preeminent event in the
industry, and she went on to open her boutique, The Vault Nantucket (“The Vault”), in 2017. In
2022, The Vault won Boston Magazine’s “Best Fine Jewelry Award” for its annual Best of Boston
series, and in 2023, Ms. Jetter’s jewelry was featured by Oprah Winfrey on the front cover of her
highly anticipated ‘“Oprah’s Favorite Things” issue.

2. At The Vault, Ms. Jetter markets and sells her own jewelry line, high-end jewelry
from other top designers and vendors in the industry, as well as apparel and accessories, and holds
various trunk shows, events, and “pop-up” shops featuring luxury merchandise in an intimate and
historic setting on the island. The Vault’s business on Nantucket is a highly seasonal one, with
high-season running annually from approximately May through October—correlating with
Nantucket’s warm weather months.

3. Defendant Marissa Collections is a Florida-based corporation founded and owned
by Defendants Marissa Hartington and Burt Hartington, with Defendant Jay Hartington as its CEO
and now part-owner. Marissa Collections operates brick-and-mortar stores in Palm Beach and

Naples, as well as an online store, that similarly features and sells luxury and high-end jewelry,

' Plaintiffs Ms. Jetter and Katherine Jetter LTD (d/b/a The Vault Nantucket) are referred
to herein as “The Vault Parties” or “Plaintiffs.” Defendants Boutique Tere, Inc. (d/b/a Marissa
Collections), CEO Jay Hartington, and Founders Marissa Hartington and Burt Hartington are
referred to herein as the “Marissa Collections Parties” or “Defendants.”

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apparel and accessories, and regularly hosts trunk shows, events, and pop-ups. Marissa
Collections is a direct competitor of The Vault. Indeed, The Vault and Marissa Collections largely
feature and sell the same jewelry designers’ lines, work with the same vendors, have overlapping
clientele, and market to the same target customer base.

4. As detailed herein, the Marissa Collections Parties—in brazen violation of their
contractual obligations—acquired and used The Vault’s and Ms. Jetter’s confidential business
information and trade secrets for their own improper purpose: as free market research in a territory
that was otherwise unfamiliar to them, and as a roadmap to open a competing store right in The
Vault’s own backyard—just 0.2 miles away from The Vault—despite Marissa Collections’
agreement to not compete within a geographically limited 50-mile radius of The Vault’s location.

5. Specifically, when The Vault Parties and the Marissa Collections Parties were
exploring a potential business partnership on Nantucket, as a condition of those discussions, the
Marissa Collections Parties executed two binding contracts containing express confidentiality
provisions and a narrowly-tailored non-competition clause, whereby Marissa Collections agreed
to not compete with The Vault within a 50-mile radius of any of its locations. True and correct
copies of the parties’ agreements—which Marissa Collections’ CEO Jay Hartington signed on
April 14, 2023 and again on October 23, 2024—are attached hereto as Exhibits 1 & 2 (hereinafter,
the “2024 Confidentiality & Non-Compete Agreement” and the “2023 Confidentiality & Non-
Compete Agreement,” respectively). Marissa Collections’ CEO also assured Ms. Jetter that
Marissa Collections would “never” independently operate a location on Nantucket without Ms.
Jetter since Nantucket was her “territory.”

6. Based on these representations and express contractual protections, Ms. Jetter

provided Defendants with The Vault Parties’ confidential business and proprietary information
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including, detailed sales data and forecasts, profit margin models and strategies, employee
compensation details, seasonal revenue patterns, and various market analyses. This confidential
and trade secret information, developed over years of on-the-ground entrepreneurial effort by Ms.
Jetter, represented the competitive advantage that made The Vault successful in the exclusive and
unique Nantucket market.

7. However, unbeknownst to Ms. Jetter, Defendants had no intention of actually
honoring their agreements or pursuing a transaction with The Vault in good faith. Instead, while
Ms. Jetter was providing and entrusting Marissa Collections with her business’s highly sensitive
information, books & records, and strategies—the crown jewels of her business—Marissa
Collections and its Founders and CEO were secretly scheming to establish their own competing
store on Nantucket, now armed with The Vault’s and Ms. Jetter’s business information, providing
a head start and unfair competitive advantage for their venture in a geographic area that was
otherwise unfamiliar terrain to the Florida natives. And rather than honor their contractual
obligations to return and destroy The Vault Parties’ confidential information—as they were
required to do under the Confidentiality & Non-Compete Agreements, and as Ms. Jetter has
repeatedly requested—Marissa Collections and the Hartingtons have kept it all for themselves for
an improper use. Tellingly, to this day, Defendants have refused to provide a certification of
destruction of The Vault’s confidential information.

8. In the hands of a competitor like Marissa Collections, the confidential information
and business strategies that the Marissa Collections Parties improperly acquired, retained, and used
represents a significant and imminent threat, at present and into the future, to The Vault’s and Ms.

Jetter’s business—especially now that Marissa Collections seeks to operate a brick-and-mortar
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store just blocks away from The Vault during Nantucket’s upcoming high-season, mere months
after signing the non-compete.

9. When Ms. Jetter unmasked Defendants’ duplicity and confronted them with their
deceit, she was met with flippant disregard: indeed, CEO Jay Hartington made clear that Marissa
Collections had zero intent of abiding by the restrictions—the ones to which he agreed not once,
but twice, in binding signed contracts.

10. Anxious that Ms. Jetter would present an obstacle to their scheme, Defendants
unilaterally demanded that Ms. Jetter waive her rights under and release Marissa Collections from
the Confidentiality & Non-Compete Agreements within less than 24 hours—or else. When Ms.
Jetter did not capitulate to Defendants’ threats, they escalated their unfair and deceptive tactics,
refusing to return nearly $250,000 of Ms. Jetter’s jewelry inventory that they held on consignment
at Marissa Collections’ Palm Beach store—inventory they continue to wrongfully hold hostage
to this day at an unknown location, despite Ms. Jetter’s clear ownership rights, good faith requests
for return of her property, and express representation that upon delivery, Ms. Jetter would promptly
return Marissa Collections’ associated $40,000 cash deposit via wire within seven (7) days.
Defendants are not marketing or selling Ms. Jetter’s jewelry—they have removed the jewelry from
display in store and from their websites and are merely withholding it to further harm Ms. Jetter.
Moreover, upon information and belief, Defendants were so determined to hold leverage over Ms.
Jetter that when an employee at Marissa Collections returned a separate portion of Ms. Jetter’s
inventory that was being held at Marissa Collections’ Naples store, that employee was swiftly fired
for doing so.

11. The culmination of Defendants’ scheme came on May 9, 2025, when Marissa

Collections announced for the first time the opening of a competing brick-and-mortar location at
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1 Cambridge Street, Nantucket—just 0.2 miles away from The Vault—and comfortably within

the contractually prohibited 50-mile zone of the non-compete restriction:

Morice Collections danomeenot of
S028 Sore Opening on Nantucket (is. 0)

True and correct copies of Marissa Collections’ May 9, 2025 public Instagram announcement and
a map showing the distance between The Vault and Marissa Collections on Nantucket are attached

hereto as Exhibits 3 and 4, respectively.

12. The timing, location, and business model of Marissa Collections’ Nantucket store
evidences Defendants’ intent all along to improperly leverage Ms. Jetter’s confidential information
for use now and into the future to directly and unfairly compete against her business—all in
violation of the parties’ operative 2024 Confidentiality & Non-Compete Agreement.

13. -Ms. Jetter therefore brings this action for injunctive relief and damages on behalf
of herself and her business to hold Defendants to their unequivocal contractual promises, to defend

herself against Defendants’ unfair and deceptive conduct, which occurred primarily and

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substantially in this Commonwealth, and to seek judicial intervention to prevent imminent and
irreparable harm arising from Defendants’ misconduct.

PARTIES

14. ‘Plaintiff Katherine Jetter is a natural person, who is the owner and CEO of
Katherine Jetter LTD (d/b/a The Vault Nantucket), and is domiciled and resides in Massachusetts.

15. Plaintiff Katherine Jetter LTD (d/b/a The Vault Nantucket) is a Delaware
corporation with a principal place of business on Nantucket, Massachusetts.

16. Defendant Boutique Tere, Inc. is a Florida corporation that conducts, transacts, and
does business in Massachusetts and Florida. Defendant Boutique Tere, Inc. does business as
Marissa Collections.

17. Defendant Jay Hartington is a natural person, who is the CEO and partial-owner of
Marissa Collections, and is domiciled and resides in Naples, Florida. Mr. Hartington has directed,
conducted and transacted business in the Commonwealth on behalf of Marissa Collections.

18. Defendant Marissa Hartington is a natural person, who is the owner and founder of
Marissa Collections, and is domiciled and resides in Naples, Florida. Ms. Hartington has directed,
conducted and transacted business in the Commonwealth on behalf of Marissa Collections.

19. Defendant Burt Hartington is a natural person, who is the owner and founder of
Marissa Collections, and is domiciled and resides in Naples, Florida. Mr. Hartington has directed,
conducted and transacted business in the Commonwealth on behalf of Marissa Collections.

JURISDICTION AND VENUE

20. The Court has jurisdiction over this action pursuant to M.G.L. c. 212, § 3, M.G.L.
c. 214, § 1, and M.G.L. c. 231A.
21. This Court has personal jurisdiction over each of the Defendants pursuant to M.G.L.

c. 223A § 3. Defendants operate their business in the Commonwealth at 1 Cambridge Street,

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Nantucket, Massachusetts; otherwise regularly transact and solicit business in the Commonwealth;
and have caused and continue to cause injury to Plaintiffs in the Commonwealth. In addition, this
action relates to the terms of the Confidentiality and Non-Compete Agreements between Plaintiffs
and Defendants, which expressly provide that “[t]his agreement shall be governed by the laws of
the Commonwealth of Massachusetts.”

22. | Venue is proper in this Court pursuant to M.G.L. c. 223, § 1 and § 8. Plaintiffs’
usual place of business is located on Nantucket, Massachusetts.

STATEMENT OF FACTS

I. Katherine Jetter is a Designer and Retailer Who Founded Katherine Jetter Ltd. and
The Vault on Nantucket.

23. Ms. Jetter is an acclaimed designer, gemologist, and visionary entrepreneur who
has spent nearly two decades building her reputation, expertise, and career in the exclusive couture
jewelry industry. In 2008, Ms. Jetter founded her own design and retail business, known as
Katherine Jetter Ltd. Within the first year of launching her line, Ms. Jetter received high praise as
one of just three nominees in the category of “Best New Designer to Couture Award” at the
Couture Trade Show’s Jewelry Design Awards, a preeminent event in the industry.

24. ‘In 2017, after many years of hard work and building her client and vendor base,
Ms. Jetter took the transformative step of self-funding and opening The Vault—a sophisticated
boutique located in the heart of downtown Nantucket, at 33 Centre Street, one of America’s most
exclusive and historic retail markets. The Vault is a premiere couture boutique, selling Ms. Jetter’s
own jewelry line, jewelry from a curated set of high-end designers in the industry, as well as
apparel and accessories. In 2022, The Vault won Boston Magazine’s “Best Fine Jewelry” award

for its annual Best of Boston series.
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25. The Vault also hosts a variety of events, pop-ups, trunk shows, and private
appointments featuring luxury merchandise in an intimate and historic setting on the island. These
types of events represent an important part of The Vault’s overall branding, marketing, business,
visibility, and reach on Nantucket.

26. Like most businesses on the island, The Vault’s business is highly seasonal and
therefore unique: the high-season—and therefore the most active sales period—runs between
approximately May and October, annually, which corresponds with Nantucket’s warm weather
months. Accordingly, and particularly during the off-season, Ms. Jetter also operates her business
and sees clients at her Boston-based showroom.

27. Within the Nantucket community, Ms. Jetter has earned a reputation for her
meticulous approach to sourcing investment-grade precious gemstones, her creative designs and
overall styling services, her one-of-a-kind custom pieces, and her discerning eye in featuring other
top designers’ work and merchandise. In 2023, Ms. Jetter’s jewelry was featured by Oprah
Winfrey on the front cover of her highly anticipated “Oprah’s Favorite Things” issue. Ms. Jetter
takes tremendous pride in her team, her strategic and proprietary business and marketing plans,
the relationships she has developed with designers and vendors, and the niche and unique market
she has cultivated over time on Nantucket.

Il. Marissa Collections is a Florida-Based Luxury Retailer and The Vault’s Direct
Competitor.

28. Defendant Marissa Collections is a Florida-based corporation—owned and
operated by Defendants Marissa Hartington, Burt Hartington, and Jay Hartington—with brick-
and-mortar stores in Palm Beach and Naples, as well as an online store, that similarly markets and

sells luxury and high-end jewelry, apparel and accessories. In 2022, Marissa Collections received
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the GEM Award for Retail Excellence by the Jewelers of America, and is part of the Gemological
Institute of America Alumni Association.

29. Marissa Collections also regularly hosts trunk shows, themed events, pop-ups, and
private styling appointments to market and sell luxury merchandise and high-end jewelry. These
types of trunk shows and events are a staple of Marissa Collections’ business, which are heavily
featured and advertised on Marissa Collections’ public website and Instagram account. At these
events, Marissa Collections invites designers to bring their inventory (historically transported in
trunks, hence the name) to their stores or another event venue for a limited time. Marissa
Collections coordinates and markets the events, promotes the inventory, and then earns a portion
of the sales. True and correct copies of a representative set of Marissa Collections social media
posts on its Instagram account are attached hereto as Exhibit 5.

30. Marissa Collections is a direct competitor of The Vault’s. Indeed, The Vault
Nantucket and Marissa Collections largely feature and sell the same jewelry designers’ lines, work
with the same vendors, have overlapping clientele, and market to the same target customer base.
True and correct copies of a representative set of The Vault’s social media posts on its Instagram
account are attached hereto as Exhibit 7. Additionally, Marissa Collections markets itself as a
jewelry retailer and the majority of its revenues come from jewelry sales. Like The Vault, Marissa

Collections places a heavy emphasis on its jewelry sales in its marketing, event hosting, and social

media efforts. Compare Exhibits 5 & 7 (Representative samples from The Vault’s and Marissa
Collections’ marketing demonstrating overlap between the same specific vendors, designers,
marketing styles, and types of events). And The Vault and Marissa Collections have a significant
overlap in vendors, too: In fact, over 80% of the designers currently carried by The Vault are also

carried by Marissa Collections. See id.

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31. As further detailed herein, Defendants Marissa and Burt Hartington are the
Founders of Marissa Collections and drive the overall business strategy of the company, including
opening a location on Nantucket. Marissa Hartington is described as “the creative force” behind
the stores, while Burt Hartington “anchors the business end of the operations;”” their son,
Defendant Jay Hartington, is Marissa Collections’ CEO, who is an experienced businessman and
was previously an investment banker. In addition to his responsibilities as CEO, Jay Hartington
also spearheads Marissa Collections’ jewelry sales and overall marketing,’ and has been dubbed

“The Face of Fine Jewelry” by local Naples and Palm Beach publications’:

The Face of Fine Jewelry

Ry SHE Stay

32. Jay Hartington has repeatedly described Marissa Collections as a “jewelry store

masked as a clothing store” because the driving force of Marissa Collections’ business is the

“Who We Are,” MARISSA COLLECTIONS, available at
https://marissacollections com/pages/who-we-are

3 Id.
4

“The Face of Fine Jewelry,” NAPLES ILLUSTRATED & PALM BEACH ILLUSTRATED,
available at hitos://wwww palm beachillustrated.com/the-iace-of-fine-jewerly
httos://wwwnaplesillustrated.com/the-face-of-fine-iewelry/

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jewelry. Indeed, it is public knowledge that jewelry sales account for the majority of Marissa
Collections’ revenue, approximately 60%, and that jewelry is therefore a key focus and primary
business driver for Marissa Collections, including in connection with its various hosted events.
33. | Even a cursory review of Marissa Collections’ social media posts reveals the
centrality of Marissa Collections’ marketing and sale of high-end jewelry at their stores, as
complementary to other merchandise, as well as via various events, pop-ups and trunk shows. See
Exhibit 5.
Il. The Marissa Collections Parties Agreed to Not Compete With The Vault and To

Protect The Vault Parties’ Confidential Information In Exchange for Receipt of The
Vault Parties’ Proprietary Business Information.

34. Ms. Jetter and the Hartingtons have had a working relationship for over fifteen
years. Marissa Collections was one of the first independent retailers to feature and sell Ms. Jetter’s
jewelry line, and her designs were marketed and sold throughout the years at Marissa Collections’
Naples and Palm Beach stores, its website, and at its trunk shows.

35. Beginning in 2023, the parties began to explore a potential business partnership,
and the Marissa Collections Parties expressed interest in expanding into the exclusive Nantucket
market. But Marissa Collections only had stores in Florida and had no experience or knowledge
about running a high-end store on the island, or about the unique sales, marketing and financial
patterns on Nantucket that are impacted by the seasonality of the business. In contrast, Ms. Jetter
already had an established foothold on Nantucket in the same exact market that the Hartingtons
were seeking to enter.

36. | Under the guise of exploring a partnership—either a purchase of or merger with

The Vault Nantucket—Jay Hartington made trips to Massachusetts to meet with Ms. Jetter and to

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gather information about her operations, business and marketing strategies, financial information,
books & records, location, and market clientele within the exclusive island community.

37.  Atall relevant times, Ms. Jetter relied upon Defendants’ and CEO Jay Hartington’s
representations that Marissa Collections had a genuine, good faith interest in a partnership with
her business; she therefore made detailed disclosures to the Defendants and engaged in extensive
discussions with Mr. Hartington.

38. | Asacondition of and in exchange for The Vault Parties providing access to highly
confidential and proprietary business information, CEO Jay Hartington—on behalf of himself and
Marissa Collections—agreed to binding confidentiality and non-competition restrictions. Indeed,
Jay Hartington, who is a sophisticated and experienced business executive, signed two contracts
agreeing not to compete with The Vault within a limited 50-mile radius of its location and to
safeguard the confidentiality of The Vault’s sensitive business information and trade secrets.
Exhibits 1 & 2.

39. The restrictions are narrowly tailored for the protection of The Vault Parties’
legitimate business interests and bound the Marissa Collections Parties to not compete within 50
miles of any of The Vault’s locations.*> This 50-mile radius is reasonably tailored and limited in
scope, encompassing Nantucket (but not even the entirety of Barnstable County):

e “Recipient [Marissa Collections] agrees_not_to_ compete _with_the
Business within 50 miles of any location of the Business [The Vault].

> Plaintiffs have two locations: a brick-and-mortar store on Nantucket and a Boston

showroom for appointments. At issue is Defendants’ opening of a store within the 50-mile radius
of the Nantucket location. However, the 2024 Confidentiality and Non-Compete Agreement
prohibits competition “within 50 miles of any location of the Business,” see Exhibits 1-2
(emphasis added), and therefore also applies to a 50-mile radius from Plaintiffs’ Boston location.

6 Exhibit 1 (operative 2024 Confidentiality & Non-Compete Agreement). See also Exhibit
2 (2023 Confidentiality & Non-Compete Agreement with same language).

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40. As CEO, Jay Hartington signed the first contract on April 14, 2023 and the second
on October 23, 2024, after discussions about the partnership renewed. Defendants never sought
to negotiate or change the terms of the agreements at any time.’

41. | Marissa Collections’ CEO further represented to Ms. Jetter that Marissa Collections
would “never” independently operate a location on Nantucket without Ms. Jetter since Nantucket
was her “territory.”

42. The Marissa Collections Parties also agreed to maintain The Vault Parties’ business
information in strict confidence; to not improperly use or disclose that information; to return and
destroy that information if the transaction was not pursued; and to not solicit The Vault’s
customers, vendors or employees, as reflected in the following provisions:

e “Recipient will not utilize, now or at any time in the future, proprietary

information or trade secrets that are provided in any manner other than
to evaluate a possible transaction with the Business.”

e “Recipient will not utilize this information in the conduct of Recipient’s
or any other party’s present or future business(es) or utilize it to enter into
or compete with the Business or assist any other party to do so.”

e “If Recipient decides not to pursue the proposed Transaction, Recipient
will advise Owner of this fact and return to Owner all Information
furnished to Recipient without keeping copies of it.”

e “Recipient will not contact the Owner’s employees, customers,
suppliers, landlord or agents, for any reason whatsoever without the prior
written consent of Owner.”

43. The 2024 Confidentiality & Non-Compete Agreement further requires the Marissa
Collections Parties to “indemnify” and “hold harmless” The Vault Parties for any and all claims,

liabilities and damages, including those “arising from or relating to” wrongful conduct or a breach

7 Td.
8 Jd. (emphases added).

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of the agreement by the Defendants, and including reimbursement of attorneys’ fees and expenses.”
The Marissa Collections Parties’ promise not to compete is even repeated within this
indemnification provision, further reflecting how critical this term was and leaving no doubt that

the Marissa Collections Parties bear full liability for any and all damages resulting from their

blatant violation of the restrictions therein:!°

e “Recipient agrees to indemnify, hold harmless and not compete with
Owner, including their respective agents, representatives, and employees
from and against any and all claims, liabilities, actions, causes of action,
and damages, arising from or relating to any injury or loss attributed to
actions, omissions, wrongful conduct or other breach of this Agreement
by Recipient, which indemnification shall include, without limitation,
reimbursement of attorney’s fees and expenses incurred by Owner in
connection therewith.”

44. AsMs. Jetter told Jay Hartington, these non-competition and confidentiality terms
were critical and necessary conditions to Ms. Jetter’s decision to participate in detailed discussions
about the potential partnership and to share her business’s proprietary and confidential business
information and strategies. In reasonable consideration of the Marissa Collections Parties’
unfettered access to The Vault’s confidential information, Defendants agreed and warranted to be
bound by the terms of their agreements.

45. Relying on the Marissa Collections Parties’ express commitments not to compete
within 50 miles of The Vault’s location or to misuse her confidential and proprietary information,
Ms. Jetter provided a cache of highly sensitive information that Jay Hartington requested.
Specifically, since the execution of the Confidentiality and Non-Compete Agreements, Ms. Jetter
worked diligently and in good faith to provide Defendants with responses to their requests and Mr.

Hartington’s ever-increasing demands for The Vault’s confidential and proprietary business

° Jd. (emphases added).
10 Td. (emphases added).

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information, including: The Vault’s detailed sales forecasts; gross revenue and gross profits
analyses; profit & loss statements; metrics regarding cost of goods; sales projections and business
valuations; business strategy plans, including Ms. Jetter’s methodology for managing operating
margins in the luxury item industry; vendor lists and associated information; compilations of
historical sales data; detailed information regarding employee salaries and compensation, seasonal
compensation, staff housing, and benefits; data regarding public relations and advertising costs;
data regarding commissions; data regarding insurance, shipping, and repair costs and terms;
detailed tax information, among other things.

46. The Vault Parties’ confidential and proprietary information has significant value
and would provide a competitor like Marissa Collections with a distinct and improper economic
advantage, including a roadmap and an unfair competitive edge, with a head start in a unique
market on Nantucket. Indeed, Defendants obtained not just operational details about The Vault’s
business, but comprehensive financial and business analyses that included multi-year data. This
type of information is therefore of present and future value to a competitor like Marissa
Collections, and remains competitively valuable and sensitive for multiple seasonal cycles.
Marissa Collections’ improper acquisition and use of The Vault’s information will therefore cause
irreparable harm, and enforcement of the non-compete as written, or for a period of at least three
years, 1s necessary to protect Plaintiffs’ legitimate business interests.

47. The Vault Parties have maintained these documents and information in strict
confidence and have taken reasonable precautions to protect them, including by only permitting a
small group of individuals access on a strictly need-to-know basis, requiring confidentiality
agreements that prohibit the use or disclosure of the information, implementing technological

safeguards to maintain secrecy, and using password protections.

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48. Simply put, Ms. Jetter never would have provided her business’s most sensitive
information, trade secrets, financials, and business models without legal assurances that Marissa
Collections could not improperly use it and open its own store on Nantucket and compete with
her. But that is exactly what the Marissa Collections Parties did.

IV. Unbeknownst to The Vault Parties, The Hartingtons and Marissa Collections Were

Working Behind the Scenes to Open Their Own, Competing Business Mere Blocks
Away from The Vault on Nantucket.

49. While Ms. Jetter entered discussions with the Marissa Collections Parties in good
faith, the Hartingtons and Marissa Collections did not. After saddling Ms. Jetter with requests for
her sensitive business information over several months in 2024 and into 2025, stringing her along
under the pretense of exploring a collaboration, the Defendants ultimately refused to realistically
and cooperatively engage with Ms. Jetter on the terms of the so-called partnership they had claimed
they were interested in.

50. | Having received The Vault Parties’ confidential and proprietary information, the
Marissa Collections Parties had what they needed: free market research into the unique Nantucket
luxury market and a head-start roadmap to open their own competitive venture. As Ms. Jetter
would later learn, behind the scenes, Jay Hartington, Marissa Hartington, and Burt Hartington were
plotting to enter the Nantucket market on their own—armed with The Vault’s proprietary and
confidential business information, which enabled them to accelerate entrance onto the island and
to improperly and unfairly compete.

51. Indeed, throughout 2024 and early 2025, while pretending to be evaluating a
transaction with The Vault Parties, CEO Jay Hartington was actually engaged in clandestine
negotiations with at least two Nantucket-based real estate brokerages to secure a lease for a

commercial space for Marissa Collections to open a competing store—just months after executing

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the Confidentiality and Non-Compete Agreement in October 2024. Upon information and belief,
Marissa Hartington and Burt Hartington participated in those business decisions, directed and
coordinated various logistics, and were involved in meetings, negotiations and plans for the
Nantucket store, including house rentals for staff and inventory decisions in the Commonwealth.

52. Ms. Jetter was stunned to find out about Defendants’ underhanded conduct. When
she confronted Jay Hartington in January 2025 and reminded him of his contractual commitments,
he brazenly indicated the restrictions to which he twice agreed had no import, resorted to threats,
and as detailed further below, has improperly held hostage Ms. Jetter’s high-value jewelry
inventory for months and months. Additionally, in a blatant display of extortionist conduct, Jay
Hartington even threatened to sue Ms. Jetter for so-called “tortious interference” claims if she did
not capitulate to his demands; for example, on January 16, 2025, Mr. Hartington demanded that
Ms. Jetter—within less than 24 hours—fully release him from his contractual commitments and
to waive all of her rights under the 2024 Confidentiality & Non-Compete Agreement.

53. Tellingly, rather than honor their contractual obligations to physically return and
destroy The Vault Parties’ confidential information—as required under the Confidentiality & Non-
Compete Agreements, and as Ms. Jetter has repeatedly requested—Marissa Collections and the
Hartingtons have improperly acquired, retained, and used it. To this day, Defendants have refused
to provide a signed certification of the destruction of The Vault Nantucket’s confidential
information. Given their ongoing possession of The Vault’s valuable business information and
trade secrets, the Marissa Collections Parties are uniquely positioned to continue to usurp The
Vault Parties’ customer and vendor goodwill, now and into the future, causing significant and

irreparable harm to Plaintiffs.

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54. Culminating the Marissa Collections Parties’ bait-and-switch scheme—in flagrant
violation of the non-compete and while still fully armed with The Vault Nantucket’s confidential
information and trade secrets—on May 9, 2025, Marissa Collections announced it was imminently

opening a store right in downtown Nantucket:

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Marissa Collections’ Announcement of
2025 Store Opening on Nantucket (Exhibit 3)

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55. | Marissa Collections’ Nantucket store is a textbook violation of the binding non-
competition agreement, with a limited 50-mile geographic scope. Marissa Collections has set up
shop in The Vault’s own backyard—a mere 0.2 miles away from The Vault—in a blatant attempt

to hijack the very market and territory Marissa Collections promised not to enter:

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Distance hemecn The Vault and Marissa Collections (Exhibit 4

56. | Upon information and belief, the Marissa Collections Parties plan to operate their

store at the 1 Cambridge Street location during peak sales season from at least June 2025 through

the fall of this year (including holding events, trunk shows, and pop-ups), and have plans to

thereafter open a permanent brick-and-mortar store on Nantucket, within a 50-mile radius of The
Vault’s boutique.

57. The Marissa Collections Parties’ plan to open a retail store during Nantucket’s high

season apparently has been in the works for some time, including by entering into the lease at 1

Cambridge Street for a retail location in or about March 2025, and by submitting its “Application

to Historic District Commission, Nantucket, Massachusetts for Certificate of Appropriateness for

Erection or Display of a Sign” on or about April 28, 2025. A true and correct copy of the

Application is attached hereto as Exhibit 6.

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58. The Vault is scheduled to open its doors this season on May 23, 2025, and as
always, will host a variety of events, trunk shows, and pop-ups. See Exhibit 7 at 1.

59. There is no question that Marissa Collections directly competes with The Vault,
which is precisely why Ms. Jetter required Marissa Collections to sign binding confidentiality and

non-competition agreements before sharing her trade secrets and sensitive business strategies.

This retained information provides the Marissa Collections Parties with an ongoing and blatantly
unfair competitive advantage—one that is derived directly from their contractual breaches and
misconduct, and which will irreparably harm Plaintiffs.

60. The selection of Marissa Collections’ location on Nantucket and the lightning speed
timing of the store opening—during Nantucket’s high-season—is no coincidence; rather, it is the
calculated result of the Marissa Collections Parties’ breaches, misconduct, and unfair and
deceptive gamesmanship, aimed and executed primarily and substantially in the Commonwealth.

Vv. Marissa Collections Holds Hundreds of Thousands of Dollars’ Worth of Plaintiffs’

Inventory Hostage In an Effort to Intimidate Ms. Jetter and Tortiously and Unfairly
Interfere With Her Business.

61. To make matters worse, when Ms. Jetter refused to acquiesce to Marissa
Collections’ transparent and aggressive efforts to intimidate her as an independent business owner,
the Marissa Collections Parties escalated their tactics by withholding substantial payments to Ms.
Jetter of past jewelry sales in their stores and by improperly holding hostage hundreds of
thousands of dollars of her jewelry inventory—inventory that Marissa Collections is no longer
marketing or selling itself, and yet refuses to return, with no legal basis, to this day.

62. For years, Marissa Collections has sold Ms. Jetter’s jewelry line via what is referred
to as a “consignment arrangement.” Consignment arrangements are standard in the couture

jewelry industry. Unlike traditional retail where a company purchases inventory outright and then

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sells it, under a consignment agreement, Ms. Jetter retains ownership of her jewelry at all times.
Marissa Collections does not purchase or pay for the jewelry, but simply takes temporary
possession of it to display, market, and sell it. If Marissa Collections sells one of Ms. Jetter’s
jewelry pieces to a customer, then it must pass through the sale proceeds to Ms. Jetter, deducting
a commission. At all times, however, the jewelry legally belongs to Ms. Jetter—not Marissa
Collections—and Ms. Jetter can therefore request its return. See Exhibit 8 at 3 (reflecting that title
remains with Plaintiff Katherine Jetter Ltd. and inventory “is to be returned to me on demand”).
Indeed, vendors frequently request return of specific inventory items on consignment throughout
the course of a consignment relationship, either as part of their own inventory management, to
make a sale directly to their own customers, or upon terminating the consignment relationship.
These requests are referred to as “return-to-vendors,” or “RTVs.”

63. Marissa Collections continues to hold hundreds of thousands of dollars of Ms.
Jetter’s jewelry at their Naples and Palm Beach locations and also owes her $18,299.85 for past
sales of her jewelry. Following standard RTV practice, Ms. Jetter repeatedly requested that her
inventory be returned to her, provided Marissa Collections with pre-paid shipping labels multiple
times, and verified that she would return the deposit she held from Marissa Collections via wire

transfer upon receipt of her jewelry."!

Ms. Jetter even had one of her employees go to Marissa
Collections’ Palm Beach store to retrieve the unreturned inventory, but Marissa Collections

refused to help or to return the jewelry and represented to Ms. Jetter’s employee that the jewelry

had been sent to some other unknown location. To this day, and despite having no active vendor

‘1 Because consignment arrangements require vendors to provide temporary possession

of their inventory, vendors often receive a deposit to serve as collateral. Here, Ms. Jetter held a
$40,000 deposit from Marissa Collections—far less than the value of her inventory in Marissa
Collections’ possession.

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relationship in place, the Marissa Collections Parties have outright refused to return Ms. Jetter’s
inventory to her—which has continued to deprive her of those sales and has negatively impacted
her revenue stream.

64. | Upon information and belief, in February 2025, when a Marissa Collections
employee of nearly thirteen years followed standard RTV practices and shipped back a separate
portion of Ms. Jetter’s jewelry upon receiving the return request, CEO Jay Hartington flew off the
handle and fired the long-time employee for disrupting his apparent scheme to hold leverage over
Ms. Jetter. Indeed, Jay Hartington specifically instructed Marissa Collections employees that
under no circumstances could they return the remainder of Ms. Jetter’s jewelry inventory to her,
falsely claiming that she would not pay back the deposit—despite the fact that Ms. Jetter
unequivocally owns the jewelry, is rightfully entitled to its return, and confirmed that she would
wire the deposit funds promptly.

65. Notwithstanding repeated requests for the return of her inventory—which
represents unique and rare pieces—and as reflected in the itemized inventory report attached hereto
as Exhibit 8, the Marissa Collections Parties continue to unlawfully hold approximately $250,000
(in retail value) of Ms. Jetter’s jewelry, in addition to withholding $18,299.85 due to Ms. Jetter for
jewelry sold. Exhibit 9 (Invoices from Ms. Jetter to Marissa Collections).

66. Defendants are not marketing or selling Ms. Jetter’s jewelry—in fact, in the midst
of their scheme they removed her jewelry from display in-store and from their websites. See
Exhibit 10 (March 2025 version of Marissa Collections’ Website including Ms. Jetter and her
jewelry versus current May 2025 website from which Ms. Jetter and her jewelry have been

removed).

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67. Indeed, as the Marissa Collections Parties know and intend, their unlawful
conversion has prevented Ms. Jetter from displaying, marketing and selling these various unique
pieces of jewelry, heading into the peak Nantucket retail season, causing a direct impact to her
business and revenue stream during a critical period. Indeed, Ms. Jetter has already been deprived
of the opportunity to make those sales in the ordinary course of her business, including for key
holidays such as Valentine’s Day and Mother’s Day. Defendants have no grounds to hold hostage
Ms. Jetter’s property; they are simply withholding her inventory to further harm Ms. Jetter and her

business—their direct competitor.

68. | At a minimum and as further detailed in Plaintiffs’ accompanying Motion for
Temporary Restraining Order and Preliminary Injunction, injunctive relief prohibiting Defendants
from opening and operating Marissa Collections on Nantucket (for a minimum period of three
years) is necessary to enforce the 2024 Confidentiality & Non-Compete Agreement and to protect
The Vault Parties’ legitimate business interests. Plaintiffs also seek injunctive relief restraining
Defendants from further accessing, using or disclosing any of Plaintiffs’ confidential information
and trade secrets, and requiring Defendants to return to Plaintiffs’ their property, including
Plaintiffs’ jewelry inventory and all of Plaintiffs’ confidential information and trade secrets.

69. Additionally, Plaintiffs are entitled to and intend to pursue all monetary damages

caused by Defendants’ misconduct, as well as all attorneys’ fees and expenses.

COUNT I

BREACH OF CONTRACT — NON-COMPETITION
70. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully

set forth herein.

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71. The 2024 Confidentiality & Non-Compete Agreement is a valid and enforceable
contract with consideration, as described above.

72. Katherine Jetter LTD (d/b/a The Vault Nantucket) fully performed all obligations
under the 2024 Confidentiality and Non-Compete Agreement.

73. In the 2024 Confidentiality & Non-Compete Agreement, Defendants agreed “not
to compete with the Business within 50 miles of any location of the Business.” The 2024
Confidentiality & Non-Compete Agreement further states: “Recipient agrees to indemnify, hold
harmless and not compete with Owner ...” Defendants further agreed to indemnify Plaintiffs for
any damages or losses related to breach of the 2024 Confidentiality & Non-Compete Agreement
(which would include breach of the non-competition restriction), and/or related to their other
actions or omissions, and expressly agreed to reimburse Plaintiffs for any attorneys’ fees and
expenses incurred in addition to damages.

74. As described above, Defendants breached the 2024 Confidentiality & Non-
Compete Agreement by establishing a competing business approximately 0.2 miles from
Katherine Jetter LTD (d/b/a The Vault Nantucket), well within the 50-mile radius prohibited by
the agreement.

75. | Asadirect and proximate result of Defendants’ breach, Plaintiffs have suffered and
will continue to suffer irreparable injury and substantial damages.

COUNT HT
BREACH OF CONTRACT - CONFIDENTIALITY

76. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.
77. The 2024 Confidentiality & Non-Compete Agreement is a valid and enforceable

contract with consideration, as described above.

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78. Katherine Jetter LTD (d/b/a The Vault Nantucket) fully performed all obligations
under the 2024 Confidentiality & Non-Compete Agreement.

79. In the 2024 Confidentiality & Non-Compete Agreement, Defendants agreed that:
“Recipient will not utilize, now or at any time in the future, proprietary information or trade secrets
that are provided in any manner other than to evaluate a possible transaction with the Business.
Recipient will not utilize this information in the conduct of Recipient’s or any other party’s present
or future business(es) or utilize it to enter into or compete with the Business or assist any other
party to do so.” Defendants further agreed that: “If Recipient decides not to pursue the proposed
Transaction, Recipient will advise Owner of this fact and return to Owner all Information furnished
to Recipient without keeping copies of it,” and that “Recipient will not contact the Owner’s
employees, customers, suppliers, landlord or agents, for any reason whatsoever without the prior
written consent of Owner.” Defendants further agreed to indemnify Plaintiffs for any damages or
losses related to breach of the 2024 Confidentiality & Non-Compete Agreement (which would
include breach of the confidentiality provisions), and/or related to their other actions or omissions,
and expressly agreed to reimburse Plaintiffs for any attorneys’ fees and expenses incurred in
addition to damages.

80. As described above, Defendants breached the 2024 Confidentiality & Non-
Compete Agreement by retaining, utilizing, misappropriating, misusing, and/or disclosing
Plaintiffs’ confidential and proprietary information and trade secrets to establish a competing
business to Defendants’ benefit. Defendants also breached the Agreement by failing to return such
information Ms. Jetter furnished to Defendants.

81. | Asadirect and proximate result of Defendants’ breach, Plaintiffs have suffered and

will continue to suffer irreparable injury and substantial damages.

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COUNT II
BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

82. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.

83. The 2024 Confidentiality & Non-Compete Agreement is a valid and enforceable
contract.

84. | Under Massachusetts law, a covenant of good faith and fair dealing is implied in
every contract. Defendants were required to act in good faith and deal fairly with Plaintiffs in the
performance of the 2024 Confidentiality & Non-Compete Agreement.

85. Defendants breached the implied covenant of good faith and fair dealing by
undertaking the actions as detailed herein, including: Defendants unfairly attempted to secure an
undue economic advantage at Plaintiffs’ expense, acted in bad faith contrary to the intended and
agreed-upon expectations under the Agreement, and injured Plaintiffs’ right to reap the benefits
provided by the contractual terms.

86. Asa result of Defendants’ breach of the implied covenant of good faith and fair
dealings, Plaintiffs have suffered and will continue to suffer irreparable injury and substantial

damages.

COUNT IV
TORTIOUS INTERFERENCE

87. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.
88. Defendants have tortiously interfered with Plaintiffs’ business relationships and

contracts with its vendors and customers, of which Defendants are fully aware.

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89. Defendants’ tortious interference with business relationships and contracts is
intentional: Defendants have engaged in an effort to interfere with Plaintiffs’ business via both
improper motive and means, including via Defendants’ misrepresentations to Plaintiffs and to
Plaintiffs’ customers and vendors, Defendants’ misuse of Plaintiffs’ confidential business
information, and Defendants’ illegal conversion of and refusal to return Plaintiffs’ valuable
inventory in order to prevent and interfere with Plaintiffs’ sales—all during what Defendants are
well aware is Plaintiffs’ most active sales season.

90. As a result of Defendants’ tortious interference, Plaintiffs have suffered and will
continue to suffer irreparable injury and substantial damages.

COUNT V

UNFAIR AND DECEPTIVE TRADE PRACTICES
IN VIOLATION OF M.G.L. ¢. 93A

91. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.

92.  Atall times relevant to this action, Defendants were engaged in trade or commerce
within the Commonwealth of Massachusetts and within the meaning of M.G.L. c. 93A, § 11 and
§ 2.

93. | Defendants’ unfair and deceptive practices occurred primarily and substantially in
the Commonwealth of Massachusetts. Additionally, Defendants’ unfair and deceptive practices
caused harm that was primarily and substantially felt by Plaintiffs in the Commonwealth of
Massachusetts, where The Vault Nantucket is located.

94. As detailed herein, Defendants engaged in unfair competition and unfair and
deceptive conduct, with an improper motive, and with the intent to secure unfair commercial

benefits. Defendants’ violation of Ch. 93A includes, a minimum, making serial, bad faith

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misrepresentations to Plaintiffs, stringing Plaintiffs along while obtaining confidential information
regarding Plaintiffs’ business under false and deceptive pretenses; misusing and retaining that
confidential and proprietary information to Defendants’ benefit; intentionally and in bad faith
breaching the 2024 Confidentiality & Non-Compete Agreement as well as the implied covenant
of good faith therein; tortiously interfering with Plaintiffs’ advantageous business relationships
and contracts; refusing with no legal basis to return Plaintiffs’ property and illegally continuing to
possess that property; withholding payment due to Plaintiffs for sales of Plaintiffs’ jewelry on

consignment—all to Plaintiffs’ harm and to Defendants’ benefit.

95. Defendants engaged in this pattern of unfair and deceptive conduct knowingly and
willfully.
96. As a result of Defendants’ conduct, Plaintiffs have suffered and will continue to

suffer irreparable injury and substantial damages.
97. Plaintiffs are entitled to treble damages, reasonable attorneys’ fees, costs, and
interest in an amount to be determined at trial.

COUNT VI

MISAPPROPRIATION OF TRADE SECRETS
IN VIOLATION OF M.G.L. C. 93, §§ 42 - 42G

98. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.
99. Defendants used improper means to misappropriate Plaintiffs’ trade secrets

including but not limited to: detailed sales forecasts; gross revenue and gross profits analyses;
profit & loss statements; cost of goods details; projections and business valuations; business
strategy plans, including with respect to managing operating margins in the luxury item industry;

vendor lists and information; compilations of historical sales data; detailed information regarding

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employee salaries and compensation, seasonal compensation, and staff housing and benefits; data
regarding public relations and advertising costs; data regarding commissions; and data regarding
insurance, shipping, and repair costs and terms; and detailed tax information.

100. This information constitutes protectable trade secrets pursuant to M.G.L. c. 93, §§
42 to 42G. Plaintiffs’ trade secrets derive independent economic value, actual or potential, from
not being generally known to, and not being readily ascertainable through proper means by,
another person or business who can obtain economic value from the disclosure or use of that
information.

101. Plaintiffs have taken reasonable measures to protect the confidentiality of these
trade secrets. As described above, Plaintiffs require confidentiality agreements prohibiting the use
or disclosure of such trade secrets and have policies in place designed to protect those trade secrets.

102. Plaintiffs disclosed the trade secrets to Defendants in confidence and pursuant to a
duty to maintain such information in confidence. Plaintiffs did not consent to Defendants’
misappropriation, use, and disclosure of such trade secrets for any purpose other than evaluating a
partnership with Plaintiffs, as stated in the 2024 Confidentiality & Non-Compete Agreement.

103. Defendants Jay Hartington, Marissa Hartington, and Boutique Tere, Inc. are each
directly liable for misappropriation of trade secrets for their use of improper means to acquire
knowledge of Plaintiffs’ trade secrets and for their knowing benefit from the misappropriation.
Marissa Hartington and Burt Hartington are additionally liable pursuant to M.G.L. c. 93, §
42(2)(B): Marissa Hartington and Burt Hartington knew or had reason to know that Plaintiffs’
trade secrets were derived from or though Jay Hartington and Boutique Tere, Inc.’s improper

means; the trade secrets were acquired under circumstances giving rise to a duty to limit their

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acquisition, disclosure, or use; and/or the trade secrets were derived from or through parties who
owed a duty to limit their acquisition, disclosure, or use.

104. Asa result of Defendants’ conduct, Plaintiffs have suffered and will continue to
suffer irreparable injury and substantial damages.

105. Defendants’ misappropriation of Plaintiffs’ trade secrets was conducted through
willful and malicious conduct, entitling Plaintiffs to attorneys’ fees and exemplary damages.
M.G.L. c. 93, § 42B(b).

COUNT VII
MISAPPROPRIATION OF CONFIDENTIAL BUSINESS INFORMATION

106. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.

107. Defendants misappropriated Plaintiffs’ confidential business information,
including but not limited to: detailed sales forecasts; gross revenue and gross profits analyses;
profit & loss statements; cost of goods details; projections and business valuations; business
strategy plans, including with respect to managing operating margins in the luxury item industry;
vendor lists and information; compilations of historical sales data; detailed information regarding
employee salaries and compensation, seasonal compensation, and staff housing and benefits; data
regarding public relations and advertising costs; data regarding commissions; and data regarding
insurance, shipping, and repair costs and terms; and detailed tax information.

108. Plaintiffs have taken reasonable measures to protect the confidentiality of its
confidential information. As described above, Plaintiffs require confidentiality agreements
prohibiting the use or disclosure of such trade secrets and have policies in place designed to protect

those trade secrets.

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109. Plaintiffs disclosed the confidential information to Defendants in confidence and
pursuant to a duty to maintain such information in confidence. Plaintiffs did not consent to
Defendants’ use and disclosure of such information for any purpose other than evaluating a
partnership with Plaintiffs, as stated in the 2024 Confidentiality & Non-Compete Agreement.

110. Asa result of Defendants’ conduct, Plaintiffs have suffered and will continue to
suffer irreparable injury and substantial damages.

COUNT Vill
CONVERSION

111. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.

112. Plaintiffs are the rightful owner of valuable inventory held with a manufacturer’s
suggested retail value of approximately $250,000, held with no legal basis by Defendants.

113. In addition, as described herein, Defendants have converted at least $18,299.85
owed to Plaintiffs for past sales of her jewelry.

114. As described herein, Plaintiffs provided Defendant with temporary possession of
such inventory on a consignment basis to act as a vendor of such jewelry in Defendants’ Florida
stores.

115. Plaintiffs terminated the consignment arrangement with Defendants and demanded
return of Plaintiffs’ property. However, Defendants have wrongfully exercised dominion and
control over the property and refused to return it.

116. Defendants’ actions are inconsistent with Plaintiffs’ ownership rights and constitute
conversion under Massachusetts law.

117. Asaresult of Defendants’ conversion, Plaintiffs have suffered and will continue to

suffer irreparable injury and substantial damages.

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COUNT IX
UNJUST ENRICHMENT

118. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.

119. Defendants are knowingly and unjustly benefitting from Plaintiffs’ confidential and
proprietary information and trade secrets, as well as Plaintiffs’ inventory, which Defendants
refused to return to Plaintiff. Defendants have also been unjustly enriched by the profits they
refuse to provide Plaintiffs for the sales of Plaintiffs’ jewelry.

120. Defendants have been enriched as a result of their unjust and unconscionable
misconduct and it would inequitable for Defendants to retain such benefits.

121. In addition to the other relief and damages sought herein, Plaintiffs are entitled to
an award equal to the amount of such unjust enrichment, including all equitable relief available
such as disgorgement or return of benefits wrongfully misappropriated.

COUNT X
DECLARATORY JUDGMENT

122. Plaintiffs incorporate by reference the allegations in the above paragraphs as if fully
set forth herein.

123. An actual controversy has arisen regarding the 2024 Confidentiality & Non-
Compete Agreement.

124. Plaintiffs’ position is that the 2024 Confidentiality & Non-Compete Agreement is
valid and enforceable under Massachusetts law. Upon information and belief, Defendants dispute
all or part of this position.

125. All parties necessary for a determination of their respective rights have been joined.

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126. Plaintiffs are entitled to a judicial determination that the 2024 Confidentiality &
Non-Compete Agreement is valid and enforceable under Massachusetts law.

REQUESTED RELIEF

WHEREFORE, Plaintiffs respectfully requests that this Court:

127. Enter judgment in favor of Plaintiffs and against Defendants on all counts;

128. Grant equitable relief, including in the form of an injunction prohibiting Defendants
from breaching the 2024 Confidentiality & Non-Compete Agreement, from acquiring, using
and/or disclosing Plaintiffs’ trade secrets and/or confidential information, and from continuing to
possess Plaintiffs’ inventory as described herein;

129. Enter a declaratory judgment that the 2024 Confidentiality & Non-Compete
Agreement is valid and enforceable;

130. Award Plaintiffs damages in an amount to be determined at trial (including treble
damages), plus pre-judgment and post-judgment interest at the maximum rate permitted by law;

131. Award Plaintiffs all costs, expenses, and attorneys’ fees; and

132. Grant such other and further relief as this Court deems just and proper.

JURY TRIAL DEMAND

133. Plaintiffs hereby demand a jury trial.

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Respectfully submitted,

KATHERINE JETTER and
KATHERINE JETTER LTD. d/b/a THE
VAULT NANTUCKET

By their attorneys,

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VERIFICATION

I, Katherine Jetter, on behalf of myself and Katherine Jetter Ltd. d/b/a The Vault Nantucket.
verify that the foregoing recitation of facts. other than allegations made upon information and
belief, are true and correct based on my personal knowledge and belief, and J hereby swear under
the pains and penalties of perjury that all of those facts are true and accurate to the best of my

knowledge.

SIGNED UNDER THE PAINS AND PENALTIES OF PERIURY

THIS \Q DAY OF MAY 20285.

Katherine Jetter Ng\
On behalf of Katherine Jeiter and
Katherine Jetter Lid. d/b/a The Vault Nantucket

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CERTIFICATE OF SERVICE

I, John F. Ferraro, hereby certify that on May 19, 2025, I caused the foregoing document

to be served via email upon counsel for Defendants:

Lawrence G. Horsburgh (Massachusetts BBO # 679997)
Gunster, Yoakley & Stewart, P.A.

450 East Las Olas Boulevard, Suite 1400

Ft. Lauderdale, FL 33301

lhorsburgh@gunster.com

M. Travis Hayes, Esq.

Gunster, Yoakley & Stewart, P.A.
5551 Ridgewood Drive

Naples, FL 34108
thayes@gunster.com

Counsel for Defendants

/s/ John F. Ferraro
John F. Ferraro

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Date Filed 5/19/2025 11:09 AM
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Docket Number

EXHIBIT 1
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To induce the owner of the business (the “Business”) described as. Katherine Jetter LTD DBA The Vault Nantucket (“Owner”) to
furnish information regarding the Business (the “informatior’”’) to the undersigned (“Recipient”) for Recipient’s evaluation of a
transaction (the “Transaction”) with the Business and In consideration for Owner providing the information, Recipient agrees and
warrants to Owner as follows:

The Recipient as used herein shall mean and include the undersigned, individually, and as a member of any entity as an’ employee,
partner, stockholder, officer, director, agent, adviser, corisultants, manager, member, or any other capacity whatsoever.

The Information, as used herein shall includa all verbal, electronic, and written data, reports, records, or materials obtained fram
Owner. Recipient will not disclose any of the Information to any party other than persons within Recipient's organization, or
independent advisers, who have a need to know such Information for the purpose of evaluating a possible transaction with the
Business. Recipient agrees to be responsible for the compliance of these other parties with all provisions of this agreement.

Wf Recipient decides not to pursue the proposed Transaction, Recipient will advise Owner of this fact and return to Owner all
information furnished to Recipient without keeping copies of it.

Recipient agrees to keep confidential that the Business is considering a transaction, or that any discussions are taking place
concerning a possible transaction involving the Business.

Recipient will not contact the Owner's ernployees, customers, suppliers, landlord or agents, for any reason whatsoever without the
prior written consent of Owner.

Recipient will not utilize, now or at any time jn the future, proprietary information or trade secrets that. are provided in any manner
other than to evaluate a possible transaction with the Business. Recipient will not utilize this information in the conduct of
Recipient’s or any other party's present or future business(es) or utilize it to enter into or compete with the Business or assist any
other party to do so.

Recipient agrees that any warranties or representations of Owner for the information provided will only be made in subsequent
Agreements in connection with the Transaction, Recipient accepts sole and final responsibility for the evaluation of the
information and all other factors relating to the Business.

Recipient represents that Recipient has sufficient resources to complete the Transaction on market terms. Recipient agrees to
provide, upon request by Owner, financial statements, credit reports, references, and other pertinent information evidencing such
financial sufficiency.

Recipient agrees to indemnify, hold harmless and not compete with Owner, including their respective agents, representatives,

and ernployees from and against any and all claims, liabilities, actions, causes of action, and damages, arising from orrelating to
any injury or loss attributed to actions, omissions, wrongtul conduct or other breach of this Agreement by Recipient, which
indernnification shall include, without limitation, reimbursement of attorney's fees and expenses incurred by Owner in connection
therewith.

Recipient agrees not to compete with the Business within 50 miles of any location of the Business.

This agreement shall be governed by the laws of the Commonwealth of Massachusetts. if any part of this agreement is held to be
invalid, void, or unenforceable, the remainder of the provisions shall rernain in full force and effect.

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Company name:f We tc / le as Address: he? Hue st OS City, State, Zip: fr +e od Ft 4 Hee
Tek Email:
ge cd det.
Authorized Signature (Title): go Date: é tle t7

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Docket Number

EXHIBIT 2
Date Filed 5/19/2025 11:09 AM
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Docket Number

BayState Business Brokers
One-Step Confidentiality and Warranty Agreement
Return via fax! 617-462-4701 of Email: Infolbmabusinesehbrokersicam

The undersigned (the “Recipient”) acknowledges that BayState Business Brokers (the “Broker"), 60 Kendrick Street, Suite 206,
Needham, MA 02494 has been engaged to represent the Owner of the Business described as Katherine Jetter LTO OBA The Vautt
Nantucket (“Owner”), To induce Broker and Owner to furnish information regarding the Business (the “Information” to Recipient
for Recipient's evaluation and possible joint venture with the Business anid In consideration for Broker arid Owner providing the
information, Recipient agrees ard] warrante to Broker, and Owner as follows:

The Recipient as used herein shail mean and include the unlersigned, individually, and as a member of any entity as an employee,
pariner, stockholder, officer, director, agent, adviser, consultants, manager, member, or any other capacity whatsoever. The
information as used herein shall include ali verbal, electronic, and written data, reports, records, or materials obtained from the
Broker or the Owner. Recipient will not disclose any of the information to any party other than persons within Recipient's
organization, or independent advisers, who have a need to know such Information for the purpose of evaluating the possible joint
venture with the Business. Recipient agrees to be responsible for the compliance of these other parties with all provisions of this
agreement.

if Recipient decides not to pursue the proposed acquisition, Recipient will advise Broker of this fact and return to Broker all
information furnished to Recipient without keeping cogies of it. Recipient agrees to keep confidential that the Business is for sale,
or listed for sale, or that any discussions are taking place conceming a possible sale of the Business. Recipient will nat contact the
Oumer's employees, customers, suppliers, landlord oragents, other than Broker, for any reason whatsoever without the prior
written consent of the Broker, Recipient will not utilize, now or at any tine in the future, proprietary information or trade secrets
that are provided in any manner ther than td evaluate a possible joint venture with the Business: Recipient will not utilize this
information in the conduct of Recipient’s or any other party's present or future business(es) or utilize it to enter into or compete
with the Business or assist any other party to do so.

The information furnished, and to be furnished, is provided by Owner, or based on representations of the Owner, and Broker has
made no investigation of it. Recipient releases Broker from any liability or responsibility in connection with the accuracy,
completeness, or any other aspect of the Information prowided.. Recipient agrees that ary warranties or representations of the
Owner for the Information provided wil only be made in subsequent Agreements in connection with the joint venture with the
Business. Recipient accepts sole and final responsibility for the evaluation of the information and all other factors relating to the
Business.

Recipient acknowledges and understands that the Broker is acting as the agent af the Owner and thet Broker's primary duty 5 to
represent the interests of the Owner: Recipient will present all offers far the business through Broker and conduct all negotiations
on any proposed transaction through Broker. Recipient agrees not to take any actions thet could interfere with or hinder the
collection of Broker's fees In connection with this transaction. Recipient irrevocably appoints Sroker te hold all Recipient deposits
presented as part of an offer to purchase the Business. Recipient represents that Recipient has sufficient resources to complete
the transaction for the asking price and! terms. Recipient agrees to provide, upon request by Broker or Owner, financial statements,
creditreports, references, and other pertinent information evidencing such financial sufficiency.

The Recipient agrees to indernnify, hold harmless and not compete with the Broker, Co-Broker, and Owner, including their
respective agents, representatives, and employees from and against any and all claims, liabilities, actions, causes of action, and
damages, arising from or relating to any injury or joss attributed to actions, omissions, wrongful conduct Gr other breach of ths
Agreement by Recipient, which indemnification shall include, without limitation, reimbursement of attorney's tees and expenses
incurred by the Broker and/or Qener in connection therewillt. Recipient agrees not fo compete with the Busingss within so miles

of any location of the Business.
This agreement shall be governed by the laws of the Commonwealth of Massachusetts. If any part of this agreement is held to be

ievalid, void, or unenforceable, the remainder of the provisions shall remain in full force and effect,
Agreement for this business only: The Vault, Nantucket.

Re sure to fill in this form completely. Edited or incomplete forms will cause a delay In processing.

Cash available for a down payment ona loan to buy the busimess: ¢ Net Worth: $ Credit Score:

Any disqualification for financing? =. Current Job: ( ZO
Related experience for this business: Co ok Mans & ¢ a led lacs 5.

When do you want toown?
address: ig? Abed steel S city, state, zi Ind, fe, 34leZ
MN; soyhas b~plon@monw-cclizchens.

Ee 13 ce.

Others involved in decision:

name: ef HAUINE TON
,
Signature: Jay \—

BayState Business Brokers ~Go Kendrick Street, Suite 206; Needham, MA 01494, 617-462-4700

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Date: 4M

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Superior Gourt “Nantucket Case 1:25-cv-11491 Documenti-1 Filed 05/23/25 Page 43 of 120

Docket Number

EXHIBIT 3
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May 9, 2025 post from Marissa Collections’ public Instagram
account, @shopmarissacollections, available at
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Docket Number

EXHIBIT 4
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Docket Number

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Distance between The Vault (33 Centre Street, Nantucket) and
Marissa Collections (1 Cambridge Street, Nantucket)
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Docket Number

EXHIBIT 5
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May 8, 2025 post from Marissa Collections’ public
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April 22, 2025 post from Marissa Collections' public
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May 11, 2025 post from Marissa Collections’ public
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March 14, 2025 post from Marissa Collections’ public
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February 7, 2025 post from Marissa Collections’ public
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March 4, 2025 post from Marissa Collections’ public
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March 19, 2025 post from Marissa Collections’ public
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May 8, 2025 post from Marissa Collections’ public
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EXHIBIT 6
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Filed 05/23/25 Rage 64 of 120

Date Issued

APPLICATION TO HISTORIC DISTRICT COMMISSION
Nantucket, Massachusetts for

CERTIFICATE OF APPROPRIATENESS

for Erection or Display of a

SIGN

Apolication is hereby made for the issuarice of a Certificate of Appropriateness under Section 7 of Chapier 394, Acts and Resolves of Massachusetts
170, for erection.or aispiy ofan oceupational or other sign-as described below and on diawings and photographs accompanying this application.

TAX MAP #: Pol
Street & Number of cad Sign
Owner of Building:
Mailing Address:

PARCEL #.

Telephone: €
thereby authorize the agent named below to act on my behalf to
make changes in the specifications or the plans contained in-this

application in order to bring the application ipcompliance with -

the HDC guidelines.

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i Chairmen:

Signature o of Ownerof Record

sees

Agentv/Owner of Business

Name: if
Mailing Address:

Telephone, ee (off island)

FOR OFFICE USE. ONLY
Date application received: _Fee Paid: $
Must be ucted on-by?
Extended. to;
Approved: Disapproved:

Member
Member:
Member:

Member:
Notes ~ Comments - Restrictions ~ Conditions:

A. TYPE-OF SIGN

J, Wall Sign 5, Flag Sign
i (2 Projecting Sign 6. Fenee Sign
5. Window Sign 7, Other (apecify)

4. Temporary Sign

2, Other (specify)

C EDGING DETAILS
1. Edgebanding 3. _ Beveled
2. Moulding “A Other (specif)

F. COLORIS}
1, Lettering
2. Ground

3. Edpebanding
4: Moulding

G. WORDING ON SIGN

H. SIZE OF SIGN,

D. LETTER TYPE
1 Applied
2. Painted

i, FINISH

1 Lettering a, Gold Leaf
G ‘5 Paint
2. Ground Pa Paint
“B. Sand Paint
3, Edgebanding a. Paint

b other (specify)

4. Moulding a. Paint
ly, other (specify)

1 SHAPE OF SIGN

1. LOCATION OF SIGN ON BUILDING

K. TYPE OF SUPPORT BRACKETS

L. TYPE OF LIGHTING AND LOCATION (if any)

Date:

Signature of Applicant

eee Signed under penalties of perjury

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Docket Number Case 1:25-cv-11491 Documenti-1 Filed 05/23/25 Page 65 of 120

Town and County of Nantucket, MA April28, 2025

Prarperty tntarmation Print map scale is approximate.
Critical layout or measurement
activities should not be done using
this resource.

Property iD . g58a
Location TL CAMBRIDGE ST
Owner ZERT DIDIA STREET Lic.

MAP FOR REFERENCE ONLY
NOT A LEGAL DOCUMENT

Tourl and County of Nantuckel MA makes no clsine and po
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EXHIBIT 7
Date Filed 5/19/2025 11:09 AM
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May 16, 2025 post from The Vault's Instagram account,
@thevaultnantucket, available at https://www.insta-
gram.com/p/DJuWx8nxaaD/
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May 1, 2025 post from The Vault Nantucket's public
Instagram account, @thevaultnantucket, available at
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April 25, 2025 post from The Vault Nantucket's public
Instagram account, @thevaultnantucket, available at
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August 8, 2024 post from The Vault Nantucket's public
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Case 1:25-cv-11491

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___ doin us for trunk shows, shopping events, and more!

"Special Events", The Vault Nantucket, available at

thevaulinaniuckel com

https://www. thevaultnantucket.com/pages/special-events
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May 2, 2025 post from The Vault Nantucket's public
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At The Vault Nantucket, not only do we sell couture jewelry,
but we also offer designer apparel for women. These
garments are ideal for everyday wear as well as for lounging
or working out. They're also a great way to showcase your
personal style.

We offer a range of apparel items and accassories, including
tank tops, t-shirts, sweatpants, pajamas, leggings, phone
cases, Ring Hero wristbands and more, Choose from various
colors, sizes and fun designs. Buying designer wear online
from us means you're adding quality garments to your
wardrobe.

Designer apparel is the perfect way to treat yourself. It also
makes a luxurious gift for friends and family members. You
can easily search for the right pieces with our search
functions: Just select the categories you want and start
shopping!

Why Choose Our Online, Couture
Boutique?

Every woman deserves cozy, lavish attire. The Vault
Nantucket is your one-stop shop for the chic fashionista. We
offer beautiful apparel and accessories made from high-
quality materials by designers and brands such as Angie
Crabtree, Chakra Girl and Ring Hero, Each piece allows you
to tell your story.

Browse designer wear for ladies or KJ's Picks today!

thevaulinantdcket-com

"Accessories", The Vault Nantucket, available at
https://www.thevaultnantucket. com/collections/accessories
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December 23, 2024 post from The Vault Nantucket's public
Instagram account, @thevaultnantucket, available at
https://www.instagram.com/p/DD7NXTZs9U2/
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May 7, 2025 post from The Vault Nantucket's public
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April 9, 2025 post from The Vault Nantucket's public
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April 3, 2025 post from The Vault Nantucket's public
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November 9, 2024 post from The Vault Nantucket's public
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June 18, 2024 post from The Vault Nantucket's public
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September 9, 2024 post from The Vault Nantucket's public
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April 4, 2024 post from The Vault Nantucket's public
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August 8, 2024 post from The Vault Nantucket's public
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ORDER ®
COMPANY BUYER BILLING ADDRESS SHIPPING ADDRESS
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AGENT Emad
Alexandre Tilison Pande
alexandra@katherinejatier.com oe ee
CUSTOMER FO SHIP DATE CANCEL OATE SHIP METHOD TERMS
SHIPPING INSTRUCTIONS COMMENTS TOTAL QUANTITY
25
TOTAL AMOUNT
249,515.00 05D
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EDH-MINI: |. Miri Tanzanite Ongar Hoops
016 9,020.00
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4 % 9,020.00 9,020.00
BR2e-Tan > Tanzanite Origami Bangle
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4 ‘ 19,400,006 76,400,00
ER-C23-4 © Celestial Moonstone Earrings
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ER-TT2 Large Tanzanite and Blue Enamel Earrings #a0d.e0
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4 1 4,800.00 4800.00
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STYLE DESCRIPTION He CODE COUNTRY ary PRICE TOTAL
KI-GB Diamond and Green Rhodium Band Ring :
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aan MSRP.
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1 1 7,800.00 ¥ 806.00
K-BER_6 9 Diamond and Blue Rhodium Band Ring 7800.08
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7 4 7,800.00 7 800.00
K.-PBR_Y | Diamond and Pink Rhodiun Band Ring 7 BO0.00
opTion UNIT MSRP
4 4 7,800.00 7,806.00
BR22-Agu | Aquamarine Organ Bangle
a3 18,a00.00
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q 4 46,400.00 46,400.00
BR22-ITD! | anperial Topaz Ongami Bangie
4 16,400.00
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q 1 46,400.00 16,400.00
w., ) EReGSOP . Diamond Orbit Barings
T2 18,700.00
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4 4 18,700.00 48,700.00
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4 1 5 440.00 $440.00
KJCN-R Rose Gold & Giamond Cage Station Neckiace 728000
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4 1 7480.00 7,480.00
CBSE-RT |. Tahitian Pearl Chain Basket Earnings
P 6500.00
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ee OPTION UNIT
4 4 6,600.00 8,500.00
CBRE-Y Cage Bar Earrings 7,000.00
OPTION UNIT MSRP
4 4 7,300.00 780000
SCPY-16 Mini Cage Pendant in Yellow Goid (18°) 2785.00
OPTION UNIT MSRP
q 4 2,785.50 2,785.00
BR22Rub  Gralfii Rubellite Origami Bangle
AAA 19,800,00
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4 % 49,200.00 19,860,00

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STYLE DESCRIPTION HS CODE COUNTRY QTy PRICE TOTAL
EDH-013 Pink Sapphire and Seed Pearl Hoops with Pink R
. 9,800.00
hodium MSRP
OPTION UNIT
1 4 9,800.00 9,800.00
« EDH-011 Purple Sapphire Origami Hoops 15,620.00
12 | option UNIT MSRP
. 1 1 16,620.00 15,620.00
R26-Morg Morganite Heart Ring
9.35 34,800.00
: MSRP
OPTION UNIT
1 1 34,800.00 34,800.00
19RC-01 Rock Crystal Quartz Spheres 330.00
OPTION UNIT MSRP
3 3 330.00 990.00
Quantity 25 249,515.00 USD

BY SIGNING BELOW, YOU AGREE TO THE TERMS OF SALE

Date

TERMS OF SALE

The merchandise described herein Is delivered to you on MEMORANDUM only, at your risk of loss, or damage from all hazards, whether by theft, robbery,
fire or otherwise. Title to said merchandise Is and shail remain in Katherine Jetter Lid. and is neld by the undersigned sublect to my order, the delivery
theraot being for the purpose of inspection only, and is to be returned io me on demand. lis understood and agreed by the undersigned thai nothing
contained in this memorandum shail be construed to be, nor has there olherwise been an extension of credit to the undersigned. The undersigned has no
right tc transfer the saici merchandise to any other person, firm or corporation, whether on memorandum or otherwise, without the WRITTEN permission of
Katherine Jetter Lid. Sale of this merchandise can only be effected and title will pass only #f, as, and when Katherine Jetter Lic., the said owner, shall agree
to such sale and a bill of sale rendered thereof. All the above jis binding on us, regardless of prior transactions.

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EXHIBIT 9
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~ March 20, 2025 Marissa Collections Website _
sss List of Designers (including Katherine Jetter)
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CALLAS BALANS:
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PETER SLOLTG

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PIEROE HARDY
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RACHEL GREERT
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ROBERTO LAVALLE
ERTS DEMEGLIG
ROSNSON PELHAM
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ROLAND MGURET
ROSE ABBOQUUIR:
RUCHLGEW YORK

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SARA WEIBSTOSE

SELIM MUUZANNAR

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March 29, 2025 Marissa Collections. Website -
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fine jewelry

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KATHERINE JETTER. x

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CATEGORY +

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DESIGNER —

GRACE WINFREY *' -
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GURHAN ©
_ HARWELL GODFREY ~~
- HOORSENBUHS
INBAR *
KATHERINE JETTER ©

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katherine jetter katherine jetter
PURPLE SAPPHIRE ORIGAM! © ROCK CRYSTAL QUARTZ CAGE
HOOP EARRINGS STONE
$15,620 $330

katherine jetter katherine jetter
CELESTIAL MOONSTONE WINGED "LOVE" NECKLACE
EARRINGS $4,900
$10,800

katherine jetter

TAHTTIAN PEARL CHAIN
BASKET EARRINGS

$6,600

katherine jetter

LARGE TANZANITE BLUE
ENAMEL STUD EARRINGS

$4,800

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MINT ORIGAMI HOOP EARRINGS

$9,020

katherine jetter

MORGANITE HEART RING
$34,800

katherine jetter

EMERALD TIK TOK EARRINGS

$14,800

katherine jetter

DIAMOND RHODIUM RING -
GREEN

$7,800

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katherine jetter

TANZANITE ORIGAMI BANGLE
$16,400

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SMALL DIAMOND CAGE BAR
EARRINGS

$7,900

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WHITE SOUTH SEA PEARL HALE PINK TOURMALINEDIAMOND OPAL AND BLUE ENAMEL
CAGE EARRINGS ORBIT EARRINGS EARRINGS
$7,420 $18,700 $3,200

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IMPERIAL TOPAZ ORIGAMI MIXED SHAPE OPAL LINE MINT GREEN TOURMALINE
BANGLE EARRINGS WHITE ENAMEL RING
$16,400 $7,700 $18,200

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RUBELLITE & DIAMOND EMERALD PEAR FAN EARRINGS DIAMOND AND BLUE E-
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$19,800 ME $7,800

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DIAMOND AND PINK E- SMALL TUMBLED TURQUOISE MINI CAGE PENDANT - YELLOW
COATING BAND RING NUGGET GOLD
$7,800 $400 $2,785

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katherine ietter katherine jetter katherine ietter

AS FAMILY-OWNED BOUTIQUE, WE ARE PROUD TO OFFER OUR CUSTOMER A CURATED COLLECTION OF FINE
JEWELRY FROM RENOWNED DESIGNERS. WE WORK WITH DISTINGUISHED FINE JEWELRY DESIGNERS, INCLUDING
ANITA. KO, SARA WEINSTOCK, CULT GAIA, AND MANY OTHERS. FOR AN EFFICIENT SHOPPING EXPERIENCE, YOU CAN
REFINE YOUR SEARCH BY UTILIZING THE FILTER FEATURES. OUR LUXURY JEWELRY CAN BE SEPARATED BY
AVAILABILITY, DESIGNER, PRICE, STONE, COLOR, AND JEWELRY SIZE. BROWSE OUR FINE JEWELRY GALLERY TO VIEW
OUR EARRINGS, NECKLACES, BRACELETS, AND RINGS IN MORE DETAIL. FOR OUR CUSTOMERS’ CONVENIENCE, WE
OFFER FREE SHIPPING AND FREE RETURNS ON ALL OF OUR CURATED JEWELRY. PLEASE VISIT OUR BOUTIQUE IN
NAPLES, FLORIDA, OR SHOP OUR WEBSITE FOR MORE DETAILS ABOUT OUR CURATED FINE JEWELRY. TO SPEAK
WITHA STYLIST, PLEASE CALL US AT 800-581-6641.

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ANTONINO VALENTI
ANTONIO BERARDI
ANYA HINDMARCH
AQUAZZURA
ARMA
ARTESANO
ARUNASHI
ASPESI!
ASPIGA
ASTON STUDIO
AUGUSTINUS BADER
AVENUE MONTAIGNE
AVIS
AZLEE
BADGLEY MISCHKA
BAGGINS
BALENCIAGA
BALMAIN
BAYCO
BEA BONGIASCA
BEATRIZ CAMACHO
BECK JEWELS
BERNADETTE
BIBI VAN DER VELDEN
BIRD & KNOLL
BIZZOTTO
BUSS LAU
BLUMARINE
BOCHIC
BORGO DE NOR
BOTTEGA VENETA

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BOUNKIT JEWELRY
BRANDON MAXWELL
BRENT NEALE
BRUNELLO CUCINELLI
BUDDHA MAMA
BVLA
BYREDO
BYTIMO
CADAR
CADDIS
CALLAS MILANO
CAMILLA
CARA CARA
CARBON & HYDE
CAROL KAUFFMANN
CAROLINA BUCCI
CAROLINA HERRERA
CAROLINA K
CASEY PEREZ
CASIO
CASTANER
CASTRO SMITH
CATHERINE REGEHR
CELINE DAQUST
CHARO RUIZ IBIZA
CHLOE
CHRISTY LYNN
CITIZENS OF HUMANITY
CLERGERIE
COOMI
CORNELIANI
COSTARELLOS
CREED
CULT GAIA
DANA REBECCA DESIGNS
DAVID WEBB

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DEL CORE
DENISE CASSOU)
DES PHEMMES
DEVON WOODHILL
DEZSO BY SARA BELTRAN
DMA COSMETICS
DMN PARIS
DOLCE & GABBANA
DOROTHEE SCHUMACHER
EDEN PRESLEY
EDIE PARKER
EERA
ELAINE KIM
ELEVENTY
ELIE SAAB
CASEY PEREZ JEWELRY
EMILY P WHEELER
ERDEM
ERES
ERMANNO SCERVINO
ETRO
EUGENIA KIM
EYECHILL, LLC
EERA
FANTASIA BY DESERIO
FEDERICA RETTORE
FENDI
FERNANDO JORGE
FIGUE
FOR FUTURE REFERENCE
FOUNDRAE
FRAME DENIM
FRED LEIGHTON
FULLORD
GABRIELA HEARST
GALVAN LONDON

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GAS BLIOUX
GEDEBE
GEMFIELDS X MUSE
GIACCA LUSSO
GIAMBATTISTA VALLI
GIANVITO ROSSI
GIGI BURRIS MILLINERY
GIGI CLOZEAU
GIVENCHY
GOLDEN GOOSE
GOSHWARA
GRAZIELA
GRETA CONSTANTINE
GUCCI
GUL HURGEL
GURHAN
HARWELL GODFREY
HERNO
HONORINE
HOORSENBUHS
HUISHAN ZHANG
ILIUM WING
IN THE MOOD FOR LOVE
INBAR
IRENE NEUWIRTH JEWELRY
ISABELLE FA
JACQUIE AICHE
JADA LOVELESS
JADE TRAU
JAKETT
JANAVEINDIA
JANE CARR
JANESSA LEONE
JBQ
JEFFREY LEVINSON
JENNA BLAKE

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JENNIFER FISHER
JENNIFER MEYER
JENNY PACKHAM
JIMMY CHOO
JOHANNA ORTIZ
JOHN VARVATOS
JOSLIN STUDIO
JUAN CARLOS OBANDO
JUDITH LEIBER
JUNE
_SWANDERSON
KAVANT & SHARART |
| emer
LAGENCE
UAFSHAR
LA DOUBLES
LA PRESTIC OUISTON
LAMARQUE
LANVIN
LAPOINTE
LARKSPUR & HAWK
LAUREN RUBINSKI
LE GRAMME
LE NINE
LE SUPERBE
LEIGH MAXWELL
LELA ROSE
LEO LIN
LESSE
LINGUA FRANCA
LISA BAYER
LITTLE ONES
LIZZIE FORTUNATO

LIZZIE FORTUNATO FINE

LOEFFLER RANDALL
LOGAN HOLLOWELL

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LOQUET
LORAIDA
LOREE RODKIN
LUCIFER VIR HONESTUS
LUIS MORAIS
LUISA BECCARIA
UAFSHAR
MAISON COMMON
MAJESTIC FILATURES
MAKEUPDROP
MANOLO BLAHNIK
MANSUR GAVRIEL
MANTU
MARCHESA
MARCHESA NOTTE
MARCO BICEGO
MARIA TASH
MARIANI
MARIE LICHTENBERG
MARINA B
MARISSA COLLECTIONS
MARISSA DIAMONDS
MARK CROSS
MARK DAVIS
MARKARIAN
MARLA AARON
MARNI
MARQUES’ ALMEIDA
MARY KATRANTZOU
MARY SMALLWOOD
MASON & BOOKS
MATTIA CIELO
MAX MARA
MAYGEL CORONEL
MEHRY MU
MELISSA KAYE

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MEREDITH YOUNG
MESSIKA

MICHAEL KORS COLLECTION

MICHAEL KORS WATCH
MICHELLE WILHITE
MINNIE ROSE
MIRONOVA
MISSONI
MIZUKI
MODERN MOOD
MOKSH
MONICA RICH KOSANN
MONICA SORDO
MONIQUE LHUILLIER
MOREAU
MORITZ GLIK
MOTHER
MYSTIQUE
NAEEM KHAN
NANIS
NEOMETAL
NEVERNOT
NIKOS KOULIS
NOUVEL HERITAGE
OQDEEH
OF RARE ORIGIN
OLIVER PEOPLES
ONDYN
ORLEBAR BROWN
ORLY MARCEL
OROTON
OSCAR DE LA RENTA
PAMELLA ROLAND
PAOLA SIGHINOLFI
PAOLITA
PARIS TEXAS

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PARULINA
PATBO
PEDRO GARCIA
PERFECT MOMENT
PESERICO
PETER COHEN
PETER PILOTTO
PHILLIPS HOUSE
PHILOSOPHY
PIERRE HARDY.
PIRANESI
POOLSIDE
PRADA
RABANNE
RACHEL GILBERT
RAFFAELLO BETTINI
RAG & BONE
RALPH LAUREN
RANI ARABELLA
RAQUEL DINIZ
RAY-BAN
REDLINE
REEM ACRA
REPOSS}
RETROFETE
RETROUVAI
RHODE
RIVERS EIGHT
RIVIERAS
ROBERTO CAVALLI
ROBERTO DEMEGLIO
ROBINSON PELHAM
RODARTE
ROEN
ROKSANDA
ROLAND MOURET

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ROSIE ASSOULIN
RUCHI NEW YORK
SABLYN
SABOO FINE JEWELS
SAFIYAA
SAINT LAURENT
SALONI
SARA BATTAGLIA
SARA ROKA
SARA WEINSTOCK
SELF-PORTRAIT
SELIM MOUZANNAR
SENS! STUDIO
SERGIO ROSSI
SERPUI
SEVAN BICAKC]
SHAY JEWELRY
SIDNEY GARBER
SILVIA FURMANOVICH
SILVIA TCHERASSI
SIMKHAI
SISLEY
SMYTHE
SOLACE LONDON
SONIA RYKIEL
SOPHIA WEBSTER
SOPHIE BILLE BRAHE
SOPHIGUE
SORELLINA
SPANX
SPINELLI KILCOLLIN
SPRWMN
STATE PROPERTY
STAUD
STEFERE

STELLA MCCARTNEY
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STEPHANIE ANDERS XO

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STORROW
STREETS AHEAD
SUNBUNCH
SUPER SMALLS
SUSAN BENDER
SUTRA
SUZANNE KALAN
SYDNEY EVAN
SYLVA & CIE
SYLVIA TOLEDANO
TAMARA COMOLLI
TAMMY FENDER
TANYA FARAH
TEMPERLEY LONDON

TEMPTATION POSITANO
TEN THOUSAND THINGS

THE LOVE KNOT

THE LUMINARIES BY COUTURE

THE SE]
TKEES
TODD REED
TONY DUQUETTE
TWP
ULLA JOHNSON

UNCOMMON MATTERS

UNIFORM OBJECT
VALERIE KHALFON
VAN
VAN PALMA
VANESSA BRUNO
VEJA
VERDURA
VERONICA BEARD
VERSACE
VHERNIER

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VICTOR VELYAN
VICTORIA BECKHAM
VIKTOR & ROLF
VINCE
VINTNERS DAUGHTER
VIRA
VRAM
WALTERS FAITH
WANDLER
WE EAT AVOCADO TOAST
WENDY YUE
WESTMAN ATELIER
WITH LOVE
WOLFORD
YEPREM JEWELLERY
YECOLLECTION
YVEL
ZAHN-Z
ZEYNEP ARCAY
ZIMMERMANN
ZOE CHICCO
ZONDA NELLIS
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